     Case 2:05-cr-00202-FVS    ECF No. 122    filed 03/24/06   PageID.231 Page 1 of 2




 1
 2
 3
 4
 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                  )
 8                                               )    No. CR-05-202-FVS-3
                        Plaintiff,               )
 9                                               )    ORDER GRANTING MOTION AND
      v.                                         )    MODIFYING CONDITIONS OF
10                                               )    RELEASE
      LINDSAY KING, a/k/a Lindsay                )
11    Kyle,                                      )
                                                 )
12                      Defendant.               )

13         At the March 24, 2006, hearing to review Defendant’s pretrial

14   release conditions and to address Defendant’s oral motion for

15   modification (Ct. Rec. 119), Assistant United States Attorney Earl

16   A. Hicks appeared for the United States. Defendant was present with

17   counsel Gina Costello.         Also present were Defendant’s father and

18   step-mother.     Both sides argued.

19         The Defendant’s oral Motion to modify                   (Ct. Rec. 119)        is

20   GRANTED.    Defendant’s release conditions are MODIFIED as follows:

21         1.    Defendant shall reside with her father and step-mother and

22   shall be under home detention, except for court-related appearances.

23         2.    Any firearms located in the residence shall be removed by

24   April 1, 2006.

25         3.    If Defendant needs to leave the residence, she shall be

26   accompanied by a parent at all times.

27         4.    Defendant      shall   not    give    out     information   as   to    her

28   residence address and phone number, without her parents’ permission.
           5.    Defendant      shall   participate        in    intensive    outpatient

     ORDER GRANTING MOTION AND MODIFYING CONDITIONS OF RELEASE - 1
     Case 2:05-cr-00202-FVS    ECF No. 122    filed 03/24/06   PageID.232 Page 2 of 2




 1   treatment, which shall include mental health counseling.
 2           6.   Defendant     shall   not    have    access     to   a   vehicle   or   a
 3   telephone (other than to speak with her attorney or for court-
 4   related matters).
 5           7.   Defendant shall not be employed until her outpatient
 6   treatment is completed, and then only if approved by her treatment
 7   counselor.
 8           8.   Defendant shall contact her attorney at least twice a
 9   week.
10           9.   All other conditions in this court’s Order filed November
11   9, 2005, if they do not conflict with the above modifications, shall
12   remain in effect.
13           IT IS SO ORDERED.
14                DATED March 24, 2006.
15
16                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
17
18
19
20
21
22
23
24
25
26
27
28



     ORDER GRANTING MOTION AND MODIFYING CONDITIONS OF RELEASE - 2
